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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

 JOSHUA HERMAN et al.,

                       Plaintiffs,                        Case No. 1:17-cv-11661

 v.                                                       Honorable Thomas L. Ludington
                                                          United States District Judge
 GENERAL MOTORS, LLC and
 ROBERT BOSCH LLC,

                   Defendants.
 ________________________________________/

      ORDER DENYING DEFENDANT’S COUNSEL’S MOTION TO WITHDRAW

        This matter is before this Court upon Attorney Heather Bartels’s Motion to Withdraw

 Heather Bartels as Counsel of Record for General Motors LLC. ECF No. 424.

        Although no substitution is necessary because Kirkland & Ellis has other attorneys who

 will continue to represent Defendant GM, they have provided no reasons for Heather Bartels’s

 withdrawal. See generally id.

        Accordingly, it is ORDERED that Attorney Heather Bartels’s Motion to Withdraw, ECF

 No. 424, is DENIED WITHOUT PREJUDICE.

        This is not a final order and does not close the above-captioned case.


        Dated: February 7, 2023                           s/Thomas L. Ludington
                                                          THOMAS L. LUDINGTON
                                                          United States District Judge
